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                                                       U.S. DISTRICT COURT
                                                     EASTERN DISTRICT COURT
                                                     DAVID A. O'TOOLE, CLERK
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